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             Exhibit H
                       to Hawkins Declaration

Plaintiffs’ Reply in Further Support of Motion for Class Certification


   Michelo et al. v. Nat’l Collegiate Student Loan Trust 2007-2 et al., No. 18-CV-1781
   Bifulco et al. v. Nat’l Collegiate Student Loan Trust 2004-2 et al., No. 18-CV-7692
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                                   James Cummins
                                 February 05, 2021                            1

·1·   ·UNITED STATES DISTRICT COURT
· ·   ·SOUTHERN DISTRICT OF NEW YORK
·2·   ·------------------------------------------X
· ·   ·MUTINTA MICHELO, et al.,
·3·   · · · · · · · · · · · · · · PLAINTIFFS,

·4· · · · · · ·-against-· · · · Case No.:
· · · · · · · · · · · · · · · 18 Civ 1781(PGG)
·5· · · · · · · · · · · · · · 18 Civ 7692(PGG)

·6·   ·NATIONAL COLLEGIATE STUDENT LOAN
· ·   ·TRUST 2007-2, et al.,
·7
· ·   · · · · · · · · · · · · · · DEFENDANTS.
·8·   ·------------------------------------------X
· ·   · · · · · · · · DATE: February 5, 2021
·9·   · · · · · · · · TIME: 1:30 P.M.

10

11· · · · · · ·DEPOSITION of the Non-Party

12· ·Witness, JAMES CUMMINS, taken by the

13· ·Plaintiffs, pursuant to a Subpoena and to

14· ·the Federal Rules of Civil Procedure, held

15· ·remotely via Zoom Videoconference, before

16· ·Suzanne Pastor, a Notary Public of the

17· ·State of New York.

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·1· · · · A.· · Okay.

·2· · · · Q.· · When you were at TSI were you

·3· ·told that those schedules were evidence of

·4· ·assignment by which the Trust came to own

·5· ·individual alleged loans?

·6· · · · · · · MR. NOVIKOFF:· Objection.

·7· · · · A.· · Yes.

·8· · · · Q.· · Were there other documents that

·9· ·you were told evidenced assignment?

10· · · · · · · MR. SCHULTZ:· Objection.

11· · · · A.· · The deposit and sale agreement

12· ·and the pool supplement would fall into

13· ·that category.· But the only information,

14· ·the only resource that would show you that

15· ·the individual loan was part of the pool of

16· ·loans that were transferred would be those

17· ·schedules.

18· · · · Q.· · When you went to trial or had

19· ·to do a summary judgment affidavit, did you

20· ·have to introduce the deposit and sale

21· ·agreement and pool supplement documents?

22· · · · A.· · Yes.

23· · · · Q.· · But to get a default judgment,

24· ·the legal case manager in March 2015 did

25· ·not have to look at those documents, is


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·1· ·that right?

·2· · · · · · · MR. SCHULTZ:· Objection.· Form,

·3· · · · ·mischaracterizes testimony.

·4· · · · A.· · We did not look at the

·5· ·document.· It did confirm from the system

·6· ·of record which Trust owned the particular

·7· ·loan.

·8· · · · Q.· · Did you make any entries in

·9· ·CRS -- when you say "system of record," do

10· ·you mean CRS?

11· · · · A.· · Yes.· CR -- I'll stay with CRS.

12· ·It's the system of record.· CRS is all

13· ·electronic information and it is

14· ·information that is uploaded from AES when

15· ·the loan goes into default and TSI becomes

16· ·responsible for the servicing.

17· · · · · · · So you can't enter information

18· ·or change the information that's in CRS.

19· · · · Q.· · So when you say "system of

20· ·record," I think you might generally be

21· ·referring to all the document folders that

22· ·TSI has in its computer system, is that

23· ·right?

24· · · · · · · MR. NOVIKOFF:· Objection.

25· · · · A.· · I was talking about them as two


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·1· ·different entities because CRS is only

·2· ·electronic data, and all the records, all

·3· ·the documents are kept in separate drives.

·4· ·So they're separate in that respect.

·5· · · · Q.· · So to be clear, if somebody

·6· ·wanted to look up a pool supplement or a

·7· ·deposit and sale agreement, they would go

·8· ·through a system of -- through a series of

·9· ·file folders on their desktop, is that

10· ·right?

11· · · · · · · MR. NOVIKOFF:· Objection.

12· · · · A.· · That's correct.· Yes, that's a

13· ·correct statement.

14· · · · Q.· · All right, I'm introducing

15· ·Exhibit 3.· For the record, this is TSI

16· ·2071 through 2072.

17· · · · · · · (Whereupon, TSI 2071 through

18· · · · ·2072 was marked as Plaintiff Exhibit

19· · · · ·3 for identification as of this date

20· · · · ·by the Reporter.)

21· · · · Q.· · Do you recognize this first

22· ·page, Mr. Cummins?

23· · · · A.· · Yes.· That's the batch sheet

24· ·that we talked about earlier.

25· · · · Q.· · And the second page, do you


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·1· ·it?

·2· · · · A.· · Yes.

·3· · · · Q.· · So this pool supplement should

·4· ·have the schedule attached to it, because

·5· ·that's what it says, right?

·6· · · · A.· · That schedule is going to

·7· ·have -- that's all the individual loans and

·8· ·the individual loans are never attached.

·9· ·What you will sometimes see is they will

10· ·say schedule and what they mean by that is

11· ·they will have a list of the loans from

12· ·that lender, the different types of loans.

13· ·Some of them have different names, and I

14· ·don't know what the purpose of that is.

15· · · · Q.· · Well, I guess I want to focus

16· ·on schedules that are attached to pool

17· ·supplements.

18· · · · A.· · Okay.· Yeah, you'll never see

19· ·the individual loans -- the individual

20· ·schedule loans.

21· · · · Q.· · Would it ever tell you on the

22· ·pool supplement where the schedule is?

23· · · · · · · MR. SCHULTZ:· Objection.

24· · · · A.· · I don't believe so.

25· · · · Q.· · So I'm going to scroll down the


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·1· ·would say categorically they would never do

·2· ·that because I know the quality of their

·3· ·work and I know how precise they were.· And

·4· ·from time to time we would hear back from

·5· ·attorneys where they appeared and did an

·6· ·excellent job.· There was never a hint in

·7· ·the office that you could somehow make a

·8· ·document you're suggesting could happen.

·9· · · · Q.· · So your understanding is that

10· ·this table that we're looking on the share

11· ·screen, TSI 471, somebody at TSI created

12· ·this by pulling up the schedule that was

13· ·referenced in the pool supplement agreement

14· ·document that we looked at before and --

15· · · · A.· · Yeah, they -- sorry.

16· · · · Q.· · -- cutting and pasting numbers

17· ·and words, is that right?

18· · · · · · · MR. SCHULTZ:· Objection.

19· · · · A.· · Copy and paste.

20· · · · Q.· · Copy and paste, I apologize.

21· · · · A.· · That's okay.· Yeah, they would

22· ·have followed the exact same procedure that

23· ·I did.

24· · · · Q.· · And that schedule, who created

25· ·that -- that schedule is a spreadsheet,


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·1· ·right?

·2· · · · A.· · Yes.· It's an Excel

·3· ·spreadsheet.

·4· · · · Q.· · Who created that Excel

·5· ·spreadsheet?

·6· · · · · · · MR. SCHULTZ:· Objection.

·7· · · · A.· · It was my understanding that it

·8· ·was the lender.

·9· · · · Q.· · And the lender here is KeyBank.

10· · · · A.· · KeyBank, yes.

11· · · · Q.· · And from where did you get that

12· ·understanding that it was the lender that

13· ·created the schedule spreadsheet?

14· · · · A.· · Early in my employment we did

15· ·have several meetings.· And I remember

16· ·asking that question and I did get an

17· ·answer that it was prepared by the lender.

18· · · · Q.· · Was this a meeting shortly

19· ·after you began your employment at TSI?

20· · · · · · · MR. SCHULTZ:· Objection.

21· · · · A.· · Would you repeat that, Asher?

22· · · · Q.· · Yes.· Was this meeting that

23· ·occurred shortly after you started working

24· ·at TSI?

25· · · · · · · MR. SCHULTZ:· Objection.


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·1· · · · A.· · Yes.

·2· · · · Q.· · Do you remember was it a

·3· ·training session?

·4· · · · A.· · I'd say yes.· I remember going,

·5· ·because I had that specific question in

·6· ·mind that I wanted to ask, I had some

·7· ·affidavits for summary judgment that

·8· ·included the schedule and I wanted to know

·9· ·as much about it as I could.

10· · · · Q.· · And who was it that told you

11· ·the answer to your question that it was the

12· ·original lender?

13· · · · A.· · That would have been Bradley

14· ·Luke.

15· · · · Q.· · And so when you testified in

16· ·state court and were asked who created the

17· ·schedule referenced in the pool supplement,

18· ·you said the lender, KeyBank, is that

19· ·right?

20· · · · · · · MR. SCHULTZ:· Objection.

21· · · · A.· · That's correct.

22· · · · Q.· · And if you had given another

23· ·answer, that would have been inconsistent

24· ·with your training, is that right?

25· · · · · · · MR. SCHULTZ:· Objection.


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·1· · · · A.· · That's correct.

·2· · · · Q.· · I'm going to go back to your

·3· ·CFPB affidavit, Mr. Cummins.

·4· · · · · · · MR. NOVIKOFF:· I have one

·5· · · · ·question on a personal nature.· I've

·6· · · · ·got to figure out picking up my

·7· · · · ·daughter at 5:00.· Do you intend on

·8· · · · ·going until 5:00?

·9· · · · · · · MR. HAWKINS:· I can't really

10· · · · ·anticipate but I will -- I'll keep

11· · · · ·you in mind and try to accommodate

12· · · · ·you.

13· · · · · · · MR. NOVIKOFF:· I could get

14· · · · ·someone, it's not a problem.· But if

15· · · · ·you were going to stop in an hour I

16· · · · ·could do it.

17· · · · · · · MR. HAWKINS:· I would suggest

18· · · · ·that you get someone to do it because

19· · · · ·I don't want to go to 4:15 and feel

20· · · · ·bad.

21· · · · · · · MR. NOVIKOFF:· Fair enough, I

22· · · · ·appreciate it.

23· · · · Q.· · Can you see your CFPB affidavit

24· ·on the share screen, Mr. Cummins?

25· · · · A.· · Yes.· And I've got my copy.


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·1· ·questions completely.· The only advice that

·2· ·I gave her was just tell the truth and tell

·3· ·the truth in your own words.· And I

·4· ·think -- that's what I told anybody who was

·5· ·gonna go to trial, because people would be

·6· ·afraid they don't know the answer.· If you

·7· ·don't know the answer, tell them you don't

·8· ·know the answer, that's all.

·9· · · · · · · And so I think that she was

10· ·really happy about how the deposition was

11· ·conducted and the positive feedback that

12· ·she had gotten afterwards.

13· · · · Q.· · I'd like to switch gears with

14· ·you a little bit.· Earlier when you were

15· ·talking about the deposit and sale

16· ·agreement and the pool supplement, there

17· ·was some discussion about how you might

18· ·have to go to the SEC website to find the

19· ·documents.· Do you remember that?

20· · · · A.· · Yes.

21· · · · Q.· · How did you come to know to go

22· ·to the SEC website if you needed to find

23· ·copies of a deposit and sale or a pool

24· ·supplement?

25· · · · A.· · Just curiosity.· I had looked


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·1· ·up the individual Trust, because we didn't

·2· ·have a copy anywhere of the Trust

·3· ·agreement, to try and understand exactly

·4· ·what was happening in that Trust and as

·5· ·much as possible what role TSI might have.

·6· ·And so I got familiar with the Trust doc.

·7· ·I got familiar with the types of filings

·8· ·that you would find.· They have the pool

·9· ·supplements, they would have the -- I think

10· ·it was called an 8-K filing.· Just for my

11· ·own knowledge so that I could better

12· ·understand how the Trust is created and do

13· ·a better job explaining it.

14· · · · Q.· · As part of your training or at

15· ·any time during your employment at TSI, did

16· ·anybody tell you that the SEC website was a

17· ·source for these documents?

18· · · · A.· · Yes.

19· · · · Q.· · Earlier we were talking about

20· ·the affidavit that you submitted to the

21· ·CFPB.

22· · · · A.· · Yes.

23· · · · Q.· · And I think at one point in

24· ·time you said you spent some time actually

25· ·drafting it over the course of I believe


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